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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO. 18-CR-80124-RAR-2

   UNITED STATES OF AMERICA

   v.

   MARK AGRESTI,

         Defendant.
   ________________________________/

                           ORDER GRANTING MOTION FOR NEW TRIAL

             The famed science-fiction writer Robert A. Heinlein once wrote that the “slickest way in

   the world to lie is to tell the right amount of truth at the right time—and then shut up.” 1 The star

   witness in this case, Kenneth Bailynson, might have been wise to follow Heinlein’s advice—

   instead, he forgot to shut up.

             Throughout his testimony at Defendant Mark Agresti’s trial, Bailynson weaved lies with

   truths, crafting a narrative that pitted his word against Agresti’s. Even more, Bailynson ensured

   the only person who could pull a thread out of the intricately woven tapestry was dead. Bailynson’s

   fable was crucial to Defendant’s conviction. The Government said so: “Without him, there would

   not have been a conviction, I don’t think. I suppose the expert was—but really, without Mr.

   Bailynson, there was no chance of a conviction.” [ECF No. 521] at 6–7 (emphasis added).

             But while Bailynson’s conviction-making testimony undoubtedly contained some truths,

   the problem lies in his failure to tell the right amount of truth or shut up, as Heinlein advised. As

   is now clear—largely because Bailynson decided to brag about it to anyone who would listen—

   Bailynson committed perjury. Then, Bailynson claimed he lied about the lying to try to make the




   1
       Robert A. Heinlein, Stranger in a Strange Land (1961).

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   earlier lies stick—specifically, that he lied when he said he committed perjury, rather than be seen

   as a snitch.

           Accordingly, Agresti now moves for a new trial, asserting that newly discovered evidence

   and the interests of justice require a new trial given Bailynson’s perjury. See generally [ECF Nos.

   585, 627]. The Government, in contrast, opposes a new trial for two reasons: first, that there was

   no perjury because Bailynson’s second set of lies (the “retraction” of the “recantation”) should be

   believed; and second, that Bailynson’s testimony was not all that important because the

   Government could have proven Agresti’s guilt without the perjured testimony. See generally [ECF

   No. 596], [ECF No. 626]; cf. [ECF No. 521] at 6–7 (“Without him, there would not have been a

   conviction . . . .”) (emphasis added).

           As the new evidence shows—and because Bailynson’s purported motives make little

   sense—it is clear he committed perjury during Agresti’s trial and did not merely retract his

   recantation. Moreover, Bailynson’s testimony was material, not cumulative or impeaching, and

   indelibly tainted the trial. Accordingly, as explained herein, it is hereby

           ORDERED AND ADJUDGED that the Motion for New Trial, [ECF No. 585], is

   GRANTED.

                                            BACKGROUND

           On June 22, 2018, a Grand Jury returned an indictment against Defendant Mark Agresti,

   along with co-defendants Kenneth Bailynson, Stephanie Curran, and Matthew Noel. See generally

   Indictment, [ECF No. 3]. Agresti was charged with conspiracy to commit health care and wire

   fraud, in violation of 18 U.S.C. § 1349 (Count 1); and eleven substantive counts of health care

   fraud, in violation of 18 U.S.C. § 1347 (Counts 2–12). Id. On February 10, 2022, after an eleven-

   day trial, [ECF No. 357], the jury convicted Agresti on all twelve counts. [ECF No. 399]. Of

   those eleven days, star witness Kenneth Bailynson’s testimony spanned four days—nearly the


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   entire first week of trial. See generally [ECF Nos. 375–78]. On May 27, 2022, Agresti was

   sentenced to 100 months imprisonment, three years of supervised release, and $31,041,938.68

   restitution jointly and severally with Bailynson, Curran, and Noel. [ECF Nos. 559; 564].

           Defendant now moves for a new trial under Federal Rule of Criminal Procedure 33(b)(1),

   based on newly discovered evidence of perjury and related misconduct undermining the testimony

   of the Government’s chief witness at trial, Kenneth Bailynson. [ECF No. 585] at 1. As part of the

   Motion for New Trial, Defendant also requested an evidentiary hearing regarding Bailynson’s

   perjury, id. at 10, which the Government did not oppose and the Court granted. The evidentiary

   hearing was held on June 3–4, 2024. 2 [ECF Nos. 624, 625]. After the evidentiary hearing, the

   Court requested both parties submit summations of the evidence regarding whether a new trial

   should be granted. [ECF No. 623]; see also [ECF Nos. 626; 627].

           Parallel to the Motion for New Trial, Agresti also filed an appeal. Once a case is on appeal,

   “the district court may either deny the motion on its merits or certify that the motion should be

   granted in order to afford the appellate court jurisdiction to entertain a motion to remand.” United

   States v. Ellsworth, 814 F.2d 613, 614 (11th Cir. 1987). The Court certified its intent to grant the

   Motion for New Trial, [ECF No. 631], and, upon defense counsel’s motion, the Eleventh Circuit

   remanded in full. See United States v. Agresti, No. 22-11995, (11th Cir. January 30, 2025), ECF

   No. 28. Accordingly, this Court has jurisdiction to consider and grant the Motion for New Trial.




   2
     The Court held the evidentiary hearing pursuant to its jurisdiction to entertain the Motion for New Trial,
   as well as the Eleventh Circuit’s stay of proceedings pending resolution of district court proceedings on the
   Motion. See United States v. Agresti, No. 22-11995, (11th Cir. May 5, 2023), ECF No. 26. See also United
   States v. Cronic, 466 U.S. 648, 667 n.42 (1984) (“The District Court had jurisdiction to entertain the motion
   and either deny the motion on its merits, or certify its intention to grant the motion to the Court of Appeals,
   which could then entertain a motion to remand the case.”).

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          I. Bailynson’s Testimony at Trial

          Clearly, Bailynson’s testimony was important—so, what exactly did he testify about?

   Bailynson’s story can be boiled down to this: that he paid Agresti thousands of dollars in cash

   beyond his salary and that cash proves Agresti was in on the fraud with Bailynson. See generally

   [ECF No. 626] (Government’s summation of evidence); [ECF No. 627] (Agresti’s summation of

   evidence). There are only two people in the world who could confirm Bailynson paid Agresti this

   cash: one of these people, “Black Fred,” is dead, and the other is Bailynson himself. Fortuitously,

   Bailynson was available to testify; less fortuitously, “Black Fred” was not. So, when Bailynson

   said these cash payments happened, Agresti was put on the defensive—having to rebut a story for

   which there was no proof beyond Bailynson’s testimony. Agresti says he never took any money

   besides his salary, which stemmed from his role as medical director at the sober living facility

   where the fraud occurred. The entire trial became a story of he said-he said.

          Everyone agreed that the only issue at trial was Agresti’s intent as to the underlying fraud,

   which concerned urinalysis testing done at the sober living home. See [ECF No. 626] at 3

   (Government explaining that “[t]he only disputed issue at trial was the Defendant’s knowledge

   and intent as to the medically unnecessary UAs”); [ECF No. 407] at 84 (defense counsel

   explaining, during closing, that “the sole issue in this case is whether Dr. Agresti knowingly and

   willfully conspired to commit healthcare fraud,” or whether he had simply been “negligent at

   work”). Consequently, Bailynson’s testimony as to Agresti’s intent, as evidenced by the alleged

   cash payments, was the key issue at trial.

          After both Bailynson and Agresti had been sentenced, Bailynson said he invented the entire

   story about giving cash payments to Agresti (it turns out he also said this before he testified, but

   that was not known until later). This is the lie Agresti now describes as perjury. See generally

   [ECF No. 627]. But then, Bailynson said he lied about inventing his testimony—that the story


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   about the cash payments was, indeed, true. He said he lied about lying to protect himself; he did

   not want to be seen as a snitch. This is the lie that the Government describes as the “retraction” of

   the “recantation.” See generally [ECF No. 626]. There has never been any evidence that

   Bailynson was in danger because he testified against Agresti.

          II. The Evidence

          Because this case spans six years, nearly two weeks of trial and evidentiary hearings, and

   a Jenga tower of lies, the parties’ summations present the best record of the evidence.

                  a. Agresti’s View

          The Court begins with Agresti’s view on why he deserves a new trial in light of Bailynson’s

   perjury. [ECF No. 627]. Agresti argues that the evidence established at the evidentiary hearing

   satisfied the five elements required to succeed on a motion for new trial: that the evidence was

   newly discovered after trial; there was no lack of due diligence by the defense; the evidence is

   more than merely cumulative or impeaching; the evidence is material to issues in the case; and that

   a new trial conducted with the new evidence would probably produce a different result. Id. at 1;

   see also United States v. Jernigan, 341 F.3d 1273, 1287 (11th Cir. 2003), abrogated on other

   grounds, (quoting United States v. Ramos, 179 F.3d 1333, 1336 n.1 (11th Cir. 1999)).

          Agresti focuses primarily on the elements pertaining to the more-than-cumulative or

   impeaching nature of the evidence, its materiality, and the probability of a new trial. [ECF No.

   627] at 2. And as one might expect, Agresti repeatedly relies on the Government’s assertion at

   Bailynson’s sentencing that “without Mr. Bailynson, there was no chance of conviction.” See,

   e.g., id. at 3, 23. Agresti’s argument is built on the idea that without Bailynson, there was really

   no evidence of what he was thinking: any proof of conspiracy, knowledge, willfulness, or intent

   to defraud. Id. Without Bailynson’s testimony, the evidence might show a conspiracy to commit

   fraud, but not one in which Agresti was involved. Id. at 3–4.


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          According to Agresti, the evidence—including Bailynson’s testimony at the evidentiary

   hearing and his statements to at least seven people—shows that Bailynson told many people, both

   before and after trial, that he planned to and did commit perjury. Id. at 4–5. At the evidentiary

   hearing, Bailynson said: “I did tell people that I made up the cash to Dr. Agresti.” [ECF No. 624]

   at 121. He also admitted that he told his acquaintance (and bag man) Willie Colón “repeatedly,

   about perjuring [him]self about the cash payments,” claiming he preferred to be seen “in the public

   eye as a liar and a perjurer . . . than [a] rat, snitch, and government informant.” Id. at 128; see also

   id. at 139 (Bailynson stating that “being called a fraudster is a thousand times worse than being

   called a child molester”). But Bailynson did not just tell Colón, whom he met after the trial; he

   also told several others about his plan. See, e.g., id. at 109 (Bailynson explaining he told Matt

   Noel that to ensure his story about cash payments to Agresti made sense, he “had to change [the]

   story about paying Dr. Agresti at the yacht club because” he feared club records would contradict

   him, even though he did not “know what records there are”); id. at 42 (Noel explaining Bailynson

   told him that “he never made cash payments. He said he used Fred because Fred was dead, and

   there was no way to prove that, prove that it was a lie”). Agresti notes ample evidence belying the

   veracity of Bailynson’s purported reasoning for his recantation: that he did not want to be seen as

   a snitch. Bailynson explained that he “continued to tell Mr. Colón about cooperation in other cases

   that were not even public yet, that only the government knew about.” Id. at 151.

          Agresti stresses the fact that, despite claiming to fear being seen as a cooperator, Bailynson

   admitted he “sent articles to pretty much anyone and everyone bragging about [his] cooperation.”

   Id. at 114. In addition to establishing the fact of the lies, Agresti also underscores several other

   factors that make the story questionable, including: changing versions of the story, meetings that

   never occurred, the lack of any business records to support the only parts of the story that could

   have been supported by outside evidence, and evidence that Fred was of good character and


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   unlikely to have participated in Bailynson’s cash payments scheme. [ECF No. 627] at 6, 9. For

   example, in Bailynson’s original tale, he gave Agresti one of the envelopes of cash at the Palm

   Beach Yacht Club. But at some point— according to Agresti, the point at which it became clear

   business records could bolster or hinder this anecdote—Bailynson changed this part of the story,

   so that there was no longer a way to verify it. Id. at 9; see also [ECF 624] at 41–42 (Noel explaining

   that Bailynson told him: “I caught myself in a lie. I realized that the Palm Beach Yacht Club keeps

   track of all their guests, so instead of saying that we had lunch, I had to say that we met, like,

   outside the Palm Beach Yacht Club”). Agresti likewise notes that Bailynson said his lawyers could

   corroborate the cash payments, which his lawyers expressly refuted. See [ECF No. 378] at 59–62.

          Agresti also directly refutes the Government’s assertion that Bailynson retracted his

   recantation, as opposed to admitting to perjury. Agresti notes that there is pre- and post-trial

   evidence that Bailynson said he was going to and then did commit perjury. Id. at 8; [ECF No. 624]

   at 124 (Bailynson admitted the perjury plan to Renee Favor while driving to debriefings: “Q. And

   you told Ms. Favor, prior to trial, in route to a briefing with the government, that you intended on

   perjuring yourself at trial? A. Yes, sir.”; and conceded that after trial, he admitted to Favor that he

   “perjured [him]self about cash payments”); id. at 116 (Bailynson, when asked whether he told

   Lilly Fumero “in 2020, prior to testifying against Dr. Agresti, that you were carefully planning

   your perjury,” he replied: “A. Yes, sir.”).

          Further, Agresti argues this evidence of perjury cannot be merely impeaching since it was

   the main evidence the Government presented to prove Agresti’s intent—an element of the crime.

   [ECF No. 267] at 12–13. Nor can perjured testimony be considered cumulative since there was

   no other evidence regarding the cash payments: no other witnesses testified about the payments

   and there was no documentation regarding them. Id. at 13. Agresti cites the indictment to argue

   that the story about the cash payments was material, since the indictment states that the purpose of


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   the scheme was to “unlawfully enrich themselves” through “payment of kickbacks and bribes,”

   “concealing . . . receipt and transfer of fraud proceeds,” and “diverting fraud proceeds for their

   personal use and benefit.” Id. at 15. Without Bailynson’s cash-payment story, there was no

   evidence that Agresti benefitted from the alleged conspiracy in any of the ways specifically

   detailed by the indictment.

          The final prong of Agresti’s summation regards how discovery of this new evidence would

   likely produce a different outcome. Id. at 18–20. To support this contention, Agresti presents a

   long list of evidence that the jury might view differently, including:

          •       the testimony of witnesses regarding separation between Agresti and the medical

                  staff, and Agresti’s discomfort with Bailynson’s testing frequency;

          •       the fact that Agresti made no factual misstatements about patient conditions or

                  patient treatment in any letter to insurance companies;

          •       that the issue of medical necessity was one handled differently by different

                  insurance companies regarding how much testing was warranted to prevent

                  addiction relapse;

          •       that Bailynson’s denigrating description of the GDSL employee’s competence in

                  reviewing laboratory testing results might have been crafted just to prejudice

                  Agresti;

          •       that the test review function of the urinalysis was geared to maintaining residential

                  qualification, not some other ongoing treatment by the doctor (and that Agresti’s

                  explanation of this fact to insurance companies caused some to stop paying);

          •       that medical necessity is not defined by “what is cost-effective,” as the Government

                  argued in closing, [ECF No. 407] at 132; and




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           •      that the step-down protocol authored by Agresti might well have been authentic

                  (contrary to what Bailynson claimed), where the Government’s own charts of

                  residents who were frequently tested were heavily skewed to the first three or four

                  months of their residency in the sober home and where other residents said testing

                  worked, thereby reducing the loss of life.

   [ECF No. 627] at 18–20. Agresti similarly emphasizes on the many ways in which the Government

   focused on Bailynson’s testimony at trial and how it adopted and reiterated the narrative Bailynson

   created about the cash payments. See id. at 21, 24 (detailing the ways the Government relied on

   Bailynson’s story at trial). Moreover, Agresti argues the outcome would be different because

   Agresti would not have had to testify to rebut Bailynson’s lies. Id. at 23 (“Much like dominoes

   falling, Bailynson’s lies forced Agresti to testify, which forced the government to impeach Agresti,

   which enabled the government in closing argument to repeatedly say Agresti, not Bailynson, was

   the liar.”).

                  b. The Government’s View

           Next, the Court summarizes the Government’s argument and evidentiary support opposing

   a new trial. See generally [ECF No. 596] (responding to the motion for new trial); [ECF No. 626]

   (summarizing opposition evidence after the Court’s evidentiary hearing). The Government, in its

   summation, primarily argues that Bailynson’s post-trial statements are “merely impeaching

   because the Defendant would have been convicted even had the jury heard them at trial and

   discounted Bailynson’s testimony.” [ECF No. 626] at 8. The Government does not emphasize or

   re-argue its earlier assertion that Bailynson retracted his recantation, see [ECF No. 596], noting

   that the Court indicated during the evidentiary hearing that it did not think Bailynson’s retraction

   was credible, see [ECF No. 626] at 1.




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          The Government begins by stressing several pieces of evidence that the Court can only

   assume are intended to bolster its opposition to a new trial, though it is unclear how the statements

   presented do so. The Government first cites Colón’s testimony at the evidentiary hearing, noting

   that Colón said Bailynson told him: “that the only way for him to get time off his sentence was to

   lie and make it up, that he gave cash to the doctor.” Id. at 4; see also [ECF No. 625] at 11. The

   Government then notes that Colón said that “the only thing [Bailynson] lied about was giving the

   doctor cash; that was it. That was the only lie.” [ECF No. 626] at 1; see also [ECF No. 625] at

   12. But Colón’s comment about a single lie was in response to defense counsel asking if Bailynson

   had recanted any statements about committing perjury—it does not serve to limit the scope of

   Bailynson’s lies. [ECF No. 625] at 12. Next, the Government discusses several instances in which

   Bailynson told someone else that he felt he “needed the story about paying Agresti $9,000 in cash

   ‘to get [the Government’s] attention and bury him,’” that “he had to cooperate because the FBI

   threated [sic] him with more prison time and other indictments against his girlfriend and others if

   he didn’t cooperate,” and that “he thought that if Agresti did not get convicted, Bailynson would

   not get as much time off his sentence.” [ECF No. 626] at 4–5. The Government explains that

   these statements by Bailynson show that defense counsel could have asked him about why he did

   not think he committed a crime during the trial. Id. at 5–6. The Government, however, fails to

   elucidate how knowing Bailynson thought he did not commit a crime affects his post-trial

   admissions of perjury.

          Relying on United States v. Valdes, the Government argues that “Bailynson’s post-trial

   statements are merely impeachment because the Defendant would have been convicted even had

   the jury heard them at trial and discounted Bailynson’s testimony.” Id. at 8; see also United States

   v. Valdes, No. 07-CR-20288, 2010 WL 11629648, at *9 (S.D. Fla. Nov. 22, 2010).                   The

   Government essentially makes a single argument: that there was sufficient evidence to convict


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   Agresti without Bailynson’s testimony. [ECF No. 626] at 8–9. The Government mentions only

   in passing, in a footnote, its own comments about the essential nature of Bailynson’s testimony,

   and makes no real attempt to rebut its own statements, asserting instead that it has always thought

   the testimony of its medical expert, Dr. Margaret Jarvis, was crucial. Id. at 11 n.6. It then

   proclaims that “the issue is not whether Bailynson’s testimony was the main reason the Defendant

   was convicted at the first trial; the issue is whether Agresti would be convicted at a second trial if

   the newly discovered evidence was used at this trial.” Id.; cf. [ECF No. 521] at 6–7 (“I suppose

   the expert was—but really, without Mr. Bailynson, there was no chance of a conviction.” (emphasis

   added)).

          To maintain the assertion that there was plenty of evidence without Bailynson’s testimony,

   the Government contends that the testimony of its additional witnesses, coupled with related

   documents, “conclusively proved the Defendant’s intent to commit healthcare fraud.” [ECF No.

   626] at 2. The Government specifically points to testimony from: its medical expert, Dr. Jarvis; a

   former resident and employee of the sober living home, Felicia Calame Ortiz; two cooperating

   Government witnesses, Eric Snyder and Paul Materia, who worked at a different addiction

   treatment facility where Agresti was medical director; and IRS Agent Pamela Martin.

          Dr. Jarvis’s testimony contains three main themes. First, there was a lot of urinalysis

   testing—more than she had seen before, and she thought it was too much. That there was no

   explicit standard of care at that time by which to compare Dr. Agresti’s action was irrelevant—he

   “violated basic common-sense.” Id. at 9, 11; see also [ECF No. 384] at 60–61. Second, she

   believed no test could be medically necessary without review by the ordering physician or used in

   treatment, and she did not think these tests were being reviewed or used meaningfully as part of

   patient treatment because residents were not evicted when they tested positive for illegal drugs.

   [ECF No. 626] at 10. Third, Dr. Jarvis explained that, given Dr. Agresti’s explanation that the


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   frequent testing was meant to serve as a deterrent, she thought a cheaper test could have been used.

   [ECF No. 383] at 66, 143. She believed the testing was so medically unnecessary that it could

   only have been done to make money. [ECF No. 626] at 11; see also [ECF No. 384] at 58–59 (Dr.

   Jarvis: “I don’t see any medical rationale for those tests. So I would conclude that there’s some

   other reason, perhaps financial gain, but there must be some other reason for doing it.”). The

   Government maintains that this testimony alone is sufficient to prove Dr. Agresti’s intent. [ECF

   No. 626] at 11 (“Based on Dr. Jarvis’[s] testimony alone . . . the Defendant could have been

   convicted.”).

          Next, the Government details the testimony of Felicia Calame Ortiz, a former resident and

   later, a “clinical care coordinator” at the sober home. Id. at 10–14. Calame Ortiz testified about

   testing frequency, protocol, and billing, including the insurance companies’ requirements related

   to proof of medical necessity and her own feelings of being overwhelmed by her workload. Id.

   According to the Government, “Ortiz’s testimony established the majority of what Bailynson

   testified about”—namely Agresti’s authorization of 3–4 urinalysis tests per week, the frequency

   with which Agresti reviewed the tests, and Agresti’s lack of complaint when Bailynson did not

   implement Agresti’s step-down testing plan —“except for the cash payments to Agresti.” Id. at

   14 (emphasis added).

          The Government also highlights that a lab supervisor, Lindsay Sangillo, testified that Dr.

   Agresti—whom she saw only once and never spoke to—authorized the urinalysis tests and that

   the lab was frequently delayed in processing the tests results. Id. at 15. Sangillo also testified that

   she once went to Bailynson, the person with whom she typically worked, to share her concerns

   that the tests were not being reviewed and that she resigned after four months because she felt

   “there were things that appeared to be unethical happening,” including Bailynson’s failure to hire




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   a laboratory director after the previous person left the position. Id. at 15; see also [ECF No. 379]

   at 178–79.

          The Government also presents testimony from an IRS agent, Pamela Martin, who

   interviewed Agresti “years before.” [ECF No. 626] at 16. Martin’s testimony included Agresti’s

   own opinions about his job at the sober living home, including information about his salary and

   raises he got as the number of patients increased. Id. at 16. Martin also shared that Agresti told

   her “that people at GDSL had changed his orders” related to confirmatory testing, [ECF No. 402]

   at 1482, and that “he recalled one occasion that Ken Bailynson did bring him $3,000 in cash, and

   he told him he didn’t want to be paid in cash. He wanted only to be paid by check.” Id. at 1480.

          Two more Government witnesses, Paul Materia and Eric Snyder, worked with Agresti at a

   different sober living home where he served as medical director. Both Materia and Snyder testified

   about the frequency of urine testing done at the other sober living home, as well as the fact that

   Agresti had not reviewed all the tests because he said he did not have time to do so. [ECF No.

   626] at 17–18. The last witness relied on by the Government, Melissa Parks, was a healthcare

   accountant that analyzed billing at the sober living home. Id. at 18–19. According to the

   Government, “Parks corroborated Dr. Jarvis, Ortiz, and Sangillo, all of whom stated that Agresti

   had not reviewed the UAs, and that confirmatory UA testing at GDSL as authorized by the

   Defendant followed a clear pattern of 3-4x per week.” Id. at 19.

          Lastly, the Government contends a jury could have credited the non-perjured parts of

   Bailynson’s testimony because “the jury could have believed the portions of Bailynson’s testimony

   that were corroborated by other witnesses.” Id. at 19 n.10. The Government also asserts that it

   could still convict Agresti with Bailynson as a witness, since he “was effectively cross-examined

   about his credibility throughout the first trial,” because he described himself on the stand as a “very

   good” liar and as “greedy,” and because “[w]hile the exposure of his post-trial text messages would


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   certainly provide more fodder for cross-examination, they would in the end be additional evidence

   to show Bailynson was a liar.” Id. at 19 n.10, 25; see also [ECF No. 378] at 66, 79.

           Overall, the Government maintains that it “has shown that it could have easily convicted

   Agresti based on the testimony of Dr. Jarvis, Ortiz, Snyder and Materia, Pam Martin, Melissa

   Parks, and the other documents and evidence in this case.” Id. at 25.

                                           LEGAL STANDARD

           Upon a defendant’s motion, “the court may vacate any judgment and grant a new trial if

   the interest of justice so requires.” Fed. R. Crim. P. 33(a). A motion for new trial based on newly

   discovered evidence must be filed within three years of the guilty verdict. Id. 33(b)(1). Agresti’s

   Motion is timely.

           A defendant must prove five elements to prevail on a motion for new trial:

                   To succeed on a motion for new trial based on newly discovered
                   evidence, the movant must establish that (1) the evidence was
                   discovered after trial, (2) the failure of the defendant to discover the
                   evidence was not due to a lack of due diligence, (3) the evidence is
                   not merely cumulative or impeaching, (4) the evidence is material
                   to issues before the court, and (5) the evidence is such that a new
                   trial would probably produce a different result.

   United States v. Jernigan, 341 F.3d 1273, 1287 (11th Cir. 2003), abrogated on other grounds,

   (quoting United States v. Ramos, 179 F.3d 1333, 1336 n.1 (11th Cir. 1999)). 3 Failure to satisfy

   any of these elements defeats a motion for new trial. United States v. Starrett, 55 F.3d 1525, 1554

   (11th Cir. 1995).

           Notably, “[m]otions for a new trial based on newly discovered evidence are highly

   disfavored in the Eleventh Circuit and should be granted only with great caution. Indeed, the


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     A deep dive into Eleventh Circuit case law shows that two versions of the test for analyzing a motion for
   new trial have been used: one with four elements, and one with five. Compare United States v. Williams,
   816 F.2d 1527, 1530 (11th Cir. 1987) with United States v. Haimowitz, 725 F.2d 1561, 1574 (11th Cir.
   1984). However, both versions derive from Ledet v. United States, 297 F.2d 737, 739 (5th Cir. 1962), and
   appear to be the result of linguistic imprecision.

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   defendant bears the burden of justifying a new trial.” United States v. Campa, 459 F.3d 1121,

   1151 (11th Cir. 2006) (en banc) (citation omitted). But a “motion for new trial is appropriate if

   the newly discovered evidence ‘afford[ed] reasonable grounds to question the fairness of the trial

   or the integrity of the verdict.’” Id. at 1151 n.268 (citing United States v. Williams, 613 F.2d 573,

   575 (5th Cir. 1980)).

                                                ANALYSIS

           Agresti has sufficiently established the elements necessary to grant a new trial. Two of the

   elements are not at issue—no one disputes that the evidence of Bailynson’s perjury was discovered

   after trial, nor is there any assertion that a lack of due diligence on counsel’s part caused the failure

   to discover the evidence earlier. That leaves three open questions: (1) Was the evidence of

   Bailynson’s perjury merely impeaching or cumulative; (2) Was the evidence of Bailynson’s

   perjury material; and (3) Is the evidence of Bailynson’s perjury such that a new trial would

   probably produce a different outcome? See Jernigan, 341 F.3d at 1287. Because the answer is

   yes to all three questions, “[t]his conviction is tainted, and there can be no other just result than to

   accord [Agresti] a new trial.” Mesarosh v. United States, 352 U.S. 1, 9 (1956); see also id. at 14

   (“The government of [a] strong and free nation does not need convictions based upon such

   testimony. It cannot afford to abide with them.”).

           I. Bailynson Did Not Retract a Recantation, He Committed Perjury

           The first issue is whether Bailynson committed perjury or merely retracted his recantation.

   The Court has no doubt that Bailynson committed perjury. As to this point, the Court reiterates its

   reasoning as explained during the evidentiary hearing:

                   I don’t know that I believe he lied about lying. I think that he did,
                   quite frankly, lie on the stand about this episode with Mr. Agresti. I
                   just—I can’t really square up his purported motives for why he
                   would have made up that story for multiple people other than he
                   actually did it. He wanted to brag about it. He was proud about it.


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   [ECF No. 625] at 23. Black’s Law Dictionary defines “recant” as “[t]o withdraw or renounce

   (prior statements or testimony) formally or publicly.” Recant, Black’s Law Dictionary (12th ed.

   2024). And it defines “perjure” as “[t]o make (oneself) culpable of deliberately making material

   false or misleading statements while under oath.” Perjure, Black’s Law Dictionary (12th ed.

   2024). Before reaching the evidentiary conclusions based on Bailynson’s testimony and manner

   at the evidentiary hearing, it is worth noting the inherent temporal restrictions within the first

   definition. Recantation requires one to withdraw, or in some form take back what has already

   happened—in other words, recantation requires a backward-looking action. But at the evidentiary

   hearing, Bailynson admitted to discussing his plan to commit perjury before he ever testified at

   trial. Definitionally, a recantation cannot occur before the testimony occurs. Conversely, Black’s

   Law Dictionary lists no comparative temporal restrictions on the act of perjuring; it requires only

   the contextual restriction of being under oath, which Bailynson was when he lied at trial.

          Beyond the definitional limitations, Bailynson’s story just does not make sense—it is

   incredible in that Bailynson is not a credible witness. He claims that he lied about lying so that he

   would not be seen as a snitch. But he told these lies before, during, and after trial. Bailynson told

   them when he was in court, when he was on the way to court, when he was in prison, and when he

   was not in prison. Bailynson’s lies lack any limits that would otherwise explain his asserted

   motive. During the evidentiary hearing, defense counsel said to Bailynson, “You actually copied

   the articles about you being a snitch in text messages, bragging,” and Bailynson replied: “Sir, they

   were going to find out about them anyway.” [ECF No. 624] at 115. This does not seem like the

   answer of someone who is afraid of the consequences of being seen as a government cooperator

   and it directly contradicts any purported motive stemming from fear of being seen as a snitch while

   in prison. Moments later, Bailynson admitted that—prior to Agresti’s trial—he had told at least

   one woman he met on a dating site about the planned perjury in order to “get laid.” Id. at 116–17.


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   Based on everything Bailynson has said, this would seem to be the truest of his statements—he

   was in it for himself. He needed to pin the blame on someone else and crafted a narrative that

   could not be corroborated by any living person. He was proud of what he did because he actually

   did it. Bailynson’s error, then, was to boast to anyone who would listen.

           Moreover, the Government’s attempt to create separation between a motion for new trial

   when based on a retracted recantation as compared to perjury is misleading—at best. The

   Government discounts the impact of the perjury by explaining that “[i]n particular, motions for a

   new trial based on witness recantation are viewed with extreme caution.” Unfortunately for the

   Government, the case it cites as support for this proposition, Newman v. United States, 238 F.2d

   861, 862 (5th Cir. 1956), continues to say that “[r]ecantation is ‘looked upon with the utmost

   suspicion’” and that “a new trial should be granted when, (a) The court is reasonably well satisfied

   that the testimony given by a material witness is false. (b) That without it the jury might have

   reached a different conclusion.” Id. at 862 n.1.

           The Government then cites United States v. Santiago for the proposition that “when a

   witness recants and later retracts his recantation, no new trial is warranted because the witness’s

   ‘version of events remains exactly as it was at trial.’” 837 F.2d 1545, 1550 (11th Cir. 1988). But

   that is not what Santiago says. There, the court called it “strained” to argue that the recantation in

   that case was newly discovered evidence because the witness had “since retracted his

   recantation”—meaning that the witness’s “version of events remain[ed] exactly as it was at trial.”

   Id.   The Santiago court was analyzing whether a recantation constituted newly discovered

   evidence; it was not laying out a different standard for recantation versus perjury. Whether the

   perjury here was newly discovered is not at issue; as such, Santiago’s reasoning does not apply.

   Indeed, the necessary elements for granting a motion for new trial do not differ based on whether

   there was perjury or a retracted recantation. See Jernigan, 341 F.3d at 1287.


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          II. Agresti Deserves a New Trial

          As the Supreme Court has eloquently explained: “The dignity of the United States

   Government will not permit the conviction of any person on tainted testimony.” Mesarosh, 352

   U.S. at 9. Bailynson’s perjured testimony is tainted. Agresti was convicted based on the tainted

   testimony. Our country’s dignity cannot permit such a conviction. Agresti has established that he

   deserves a new trial.

              a. Evidence of Bailynson’s Perjury Is More Than Merely Impeaching or
                 Cumulative

          Since the first and second elements sufficient for a grant of a new trial are not contested,

   the Court begins with the third element, which requires Agresti to show the new evidence is not

   merely impeaching or cumulative. The Court begins with the simpler conclusion that Bailynson’s

   perjured testimony was not cumulative. Because no one else testified about the cash payments,

   Bailynson’s testimony cannot be said to accumulate with any other witness’s testimony. See also

   Valdes, 2010 WL 11629648, at *9 (finding newly discovered evidence of perjury was not

   cumulative where the jury “received absolutely no evidence concerning the destruction of records

   and [the witnesses’] lies about it”).

          The question of whether the evidence is merely impeaching is more complicated because

   a “sworn statement that contradicts earlier testimony serves to impeach the witness’s credibility

   and does not warrant a new trial if ‘[n]othing in the record suggests that this statement would

   probably produce an acquittal.’” Id. (quoting United States v. Diaz, 190 F.3d 1247, 1255 (11th

   Cir. 1999)). The District Court in Valdes explained this quirk in the test: “the wording of the test

   itself suggests that new evidence which is ‘merely . . . impeaching’ is never sufficient to warrant

   a new trial. This raises a question: Is evidence of perjury ever more than ‘merely impeaching?’”

   Id. Relying on the Eleventh Circuit in Diaz, the District Court concluded that: “Diaz suggests that

   evidence of perjury functions merely to impeach unless it would probably lead to a different result

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   in a new trial.” Id. Following this logic to its end, the Valdes court concluded: “[I]n cases where

   there is new evidence of perjured testimony, the third element of the test is satisfied if the fifth

   element is satisfied” because “evidence of perjured testimony by a key witness is more than mere

   impeachment evidence, and it ‘taints’ a conviction.” Id. at 10.

            Perjury, of course, does taint a conviction. Indeed, perjury taints the entire proceeding and

   corrupts the truth-seeking function of trial because it is a fundamental violation of our system of

   justice. The Government attempts to characterize Bailynson’s perjury as impeachment—and

   nothing more—because he “was effectively cross-examined about his credibility throughout the

   first trial.” [ECF No. 626] at 19 n.10, 25. By this argument, Bailynson’s credibility was already

   evaluated by the jury because he described himself on the stand as a “very good” liar and defense

   counsel had a chance to ask about it. The Government thus implies that because perjury is just a

   version of lying and Bailynson was already asked about how much he lies, evidence of his perjury

   is simply impeachment material. See id. (maintaining, without mention of pre-trial evidence of

   perjury, that “[w]hile the exposure of his post-trial text messages would certainly provide more

   fodder for cross-examination, they would in the end be additional evidence to show Bailynson was

   a liar.”).

            But it is one thing to call someone a liar and quite another to know someone is a liar. As

   Valdes explains:

                   New evidence of perjury performs two different functions. First, it
                   shows a witness is a liar. When used this way, new evidence that a
                   witness is a perjurer is for the purposes of impeachment. Second,
                   evidence of perjury indicates there is new substantive evidence that
                   may be presented at a new trial—specifically, the true version about
                   what it was the witness had originally lied.

   Id. at *11. And despite the Government’s assertions, evidence of Bailynson’s perjury is not just

   one more piece of evidence to show he is a liar. Defense counsel calling Bailynson a liar, or even

   Bailynson calling himself a liar, is simply not the same thing as the extensive evidence of perjury

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   by Bailynson in this case.      Bailynson’s perjury here does not serve the first function of

   impeachment—it serves the second function and indicates there is a true version of events

   obscured by Bailynson’s perjury.

          Moreover, this second function of perjury mars a trial in a more pervasive manner than

   impeaching evidence. Both parties rely on Valdes for support because, in that case, there was

   perjury and the motion for new trial was granted in part—giving each party a hook for its position

   in this case. Id. at *12 (granting motion for new trial as to kickback counts only). But the situation

   in Valdes differs in an important way. Valdes involved perjury about the existence of a logbook,

   that while material and not cumulative or merely impeaching, did not form the entire basis of the

   Government’s case. Id. Conversely, here, the Government’s theory of the case relied, in

   significant part, on Bailynson’s perjured cash payments narrative. See, e.g., [ECF No. 375] at 28

   (arguing during opening that Agresti “demanded more and more in terms of salary along the way

   until he was making $18,000 a month as a medical director fee for GDSL just to order drug

   testing”); [ECF No. 407] at 36 (arguing during closing that Agresti “did it all . . . so he could make

   an easy $18,000 a month as the medical director”). Accordingly, given that the Government relied

   on the perjured testimony as a central component of its case, the perjury constitutes more than

   mere impeachment because a new trial would probably produce a different result.

              b. The Evidence of Bailynson’s Perjury Is Material

          Bailynson’s perjury was material. Beyond the Government’s own concession that there

   was no chance of conviction without his testimony, Bailynson testified as to an essential element

   of the alleged fraud: Agresti’s intent. No other evidence of Agresti’s intent was presented at trial,

   and the story of the cash payments created a link between the circumstantial evidence regarding

   Agresti’s awareness of the testing protocol at the sober living home and a clear action to participate




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   in the fraudulent conspiracy. Bailynson’s testimony provided a critical link where no other

   evidence existed to indicate what Agresti thought, knew, or intended.

          Because there is sparse caselaw concerning the materiality of evidence on a motion for new

   trial, the Court draws instruction from a parallel materiality inquiry. Under Brady v. Maryland,

   “the State violates a defendant’s right to due process if it withholds evidence that is favorable to

   the defense and material to the defendant’s guilt or punishment.” Smith v. Cain, 565 U.S. 73, 76

   (2012) (citing 373 U.S. 83, 87 (1963)). In the Brady context, evidence is material when a different

   outcome is reasonably probable, which means “only that the likelihood of a different result is great

   enough to ‘undermine[ ] confidence in the outcome of the trial.’” Id. at 75–76 (quoting Kyles v.

   Whitley, 514 U.S. 419, 434 (1995)) (alteration in original); see also Kotteakos v. United States,

   328 U.S. 750, 764 (1946) (“The crucial thing is the impact of the thing done wrong on the minds

   of other men, not on one’s own, in the total setting.”). In Smith, the alleged Brady violation

   concerned undisclosed statements by the only eyewitness linking the Defendant to the crime that

   directly contradicted his testimony. Smith, 565 U.S. at 74–75. And the Court was left “to speculate

   about which of [the eyewitness’s] contradictory declarations the jury would have believed.” Id. at

   76.

          Though the Brady context is notably different, this framework provides a workable parallel

   for extrapolating materiality in the context of a motion for new trial. Here, as in Smith, “the State’s

   argument offers a reason that the jury could have disbelieved [the eyewitness’s] undisclosed

   statements, but gives us no confidence that it would have done so.” Id.; see also Kotteakos, 328

   U.S. at 764 (explaining the question is “what effect the error had or reasonably may be taken to

   have had upon the jury’s decision”). Thus, in the context of an alleged Brady violation, the

   Supreme Court has explained an eyewitness statement is material when it was “the only evidence

   linking [the Defendant] to the crime.” Smith, 565 U.S. at 76.


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          Here, Bailynson was the only witness to provide direct evidence in the form of testimony

   addressing Agresti’s intent and active participation in the conspiracy to commit healthcare fraud.

   His perjury thus undermines confidence in the trial because the Court is left to speculate about

   which of Bailynson’s lies—if revealed—the jury would believe.             Accordingly, Bailynson’s

   testimony is material.

              c. A New Trial Would Probably Produce a Different Outcome

          Given the crucial role Bailynson’s testimony played during Agresti’s trial, a new trial

   would probably produce a different outcome. As the Government said when extolling the virtues

   of Bailynson’s cooperation as his sentencing: “Without him, there would not have been a

   conviction, I don’t think. I suppose the expert was—but really, without Mr. Bailynson, there was

   no chance of a conviction.” [ECF No. 521] at 6–7 (emphasis added). In the face of this direct and

   unequivocal statement by the Government, its argument that expert witness testimony would have

   sufficed to convict Agresti is unavailing.

          The Government relies heavily on the impact of Dr. Jarvis’s testimony as sufficient support

   for Agresti’s conviction. But, as an initial matter, the Court notes that subsequent Supreme Court

   precedent has placed such reliance in a precarious position. In Smith v. Arizona, which came out

   three days before the parties submitted their evidentiary summations, the Supreme Court addressed

   the Confrontation Clause implications of an expert witness testifying about conclusions drawn by

   another expert who was not present. 602 U.S. 779 (2024). Specifically, the Court explained that:

                  A State may not introduce the testimonial out-of-court statements of
                  a forensic analyst at trial, unless she is unavailable and the defendant
                  has had a prior chance to cross-examine her. Neither may the State
                  introduce those statements through a surrogate analyst who did not
                  participate in their creation. And nothing changes if the surrogate—
                  as in this case—presents the out-of-court statements as the basis for
                  his expert opinion. Those statements, as we have explained, come
                  into evidence for their truth—because only if true can they provide
                  a reason to credit the substitute expert. So a defendant has the right
                  to cross-examine the person who made them.

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   Id. at 802–03 (internal citations omitted). Given that portions of Dr. Jarvis’s testimony relied on

   conclusions of another doctor, any future testimony, at the very least, would need to take a very

   different form to avoid a Confrontation Clause concern. See, e.g., [ECF No. 383] at 8 (“Q. Okay.

   And did Dr. Clark write a report in this case? A. She did write a report in this case, and that was

   part of what the Government asked me to review, and I did. And I went through the files. I looked

   through the evidence. And I would say that 99 percent, I would be right on board with what Dr.

   Clark put in her report.”).

          The Government relies on Dr. Jarvis’s testimony to establish that there was too much

   urinalysis testing; that such testing could not have been medically necessary unless reviewed by a

   physician; and that Agresti’s stated purpose of deterrence only makes sense if cheaper tests were

   used. These conclusions, as well as Dr. Jarvis’s belief that there was no “medical rationale for

   those tests” and that “there’s some other reason, perhaps financial gain, . . . for doing it,” are

   arguably the only evidence presented that could imply Agresti violated a standard of care (though

   there was no such standard at the time). [ECF No. 384] at 58. Thus, the Government’s certainty

   that “[b]ased on Dr. Jarvis’[s] testimony alone . . . the Defendant could have been convicted” is

   dubious. [ECF No. 626] at 11.

          As to the larger question, Agresti has sufficiently established that the newly discovered

   evidence of Bailynson’s perjury would probably produce a different outcome. A detailed review

   of the Government’s remaining evidence shows that no one knew anything about what Agresti

   thought or knew. Both parties agreed that the only issue at trial was Agresti’s intent. Yet some of

   the witnesses the Government relies on now in opposition to a new trial never spoke to Agresti,

   making it quite troublesome to believe they might have known anything about his mental state or

   intent. Most importantly, Bailynson played a fundamental role in the trial. His testimony alone



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   occupied over a third of the trial given that it spanned over four of the eleven days and his perjury

   was the foundation of the Government’s theory of the case.

          Indeed, Bailynson’s presence cast a pall over the proceedings. And Agresti quite credibly

   argues that he would not have testified if he had not felt the need to rebut Bailynson’s story of the

   cash payments. Because the trial became Bailynson’s word against Agresti’s, and no other living

   person could corroborate the story, Agresti’s testimony was his only chance to rebut Bailynson’s

   tale. The Government attempts to argue that the testimony of the IRS agent contradicted Agresti’s

   version of events, thus forcing him to testify. But the impact of a federal agent relaying a

   conversation with slight contradictions from years prior is very different than the impact of an

   alleged co-conspirator weaving a tale of mysterious cash payments revealing a mastermind. It is

   not at all obvious that Agresti would have submitted himself to cross-examination because of the

   IRS agent alone.

          Because the Government’s theory of the case relied, in pertinent part, on Bailynson’s lies,

   Agresti is able to point to a long list of other evidence potentially infected by his perjury—and

   explain how a jury might see things differently without Bailynson’s influence. As one legal scholar

   has noted: “Errors can contribute to verdicts by changing the shape of other pieces of evidence or

   the mind of one juror.” Lisa Kern Griffin, Criminal Adjudication, Error Correction, and Hindsight

   Blind Spots, 73 Wash. & Lee L. Rev. 165, 207 (2016). Agresti credibly contends that many

   moments in the trial could change shape, including: the fact that Agresti made no factual

   misstatements about patient conditions or patient treatment in any letter to insurance companies;

   the fact that the issue of medical necessity was handled differently by certain insurance companies

   as to how much testing was warranted to prevent addiction relapse; the possibility that Bailynson’s

   description of the GDSL employee’s competence in reviewing laboratory testing results might

   have been crafted just to prejudice Agresti; the fact that the function of reviewing the urinalysis


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   tests was geared toward maintaining residential qualification, not some other ongoing treatment

   by the doctor (and that Agresti’s explanation of this fact to insurance companies caused some to

   stop paying); that medical necessity is not defined by “what is cost-effective,” as the Government

   argued in closing, [ECF No. 407] at 132; and that the step-down protocol authored by Agresti

   might well have been authentic (contrary to what Bailynson claimed). [ECF No. 627] at 18–20.

          Moreover, binding precedent arguably leaves to the jury the question of how much a trial

   will change shape when new evidence of perjury is discovered. As the Eleventh Circuit has

   explained: “[O]nly a jury could determine what it would have done with a different body of

   evidence and . . . since the jury could no longer act in the case[,] a new trial [is] required.” United

   States v. Brunoehler, 714 F.2d 99, 101 (11th Cir. 1983) (per curiam) (citing Mesarosh, 352 U.S.

   at 12). To reach this conclusion, the Eleventh Circuit relied on the “Mesarosh requirement that

   the issue of the truthfulness of the witness be presented fully to the jury,” to distinguish between

   situations in which the jury knew about a witness’s untruthfulness during trial and those where the

   Government did not discover evidence of perjury or untruthfulness until after trial. 714 F.2d at

   101 (internal citations omitted). Brunoehler thus instructs that the issue of truthfulness of a witness

   in cases where there is evidence of perjury—not merely untruthfulness that may have already been

   impeached—must be presented to the jury. Id. at 102. Here, the issue of Bailynson’s perjury is

   clearly one for a jury, and a new trial is therefore warranted.

          The Eleventh Circuit’s analysis in United States v. Espinosa-Hernandez provides a further

   useful comparison. 918 F.2d 911 (11th Cir. 1990) (per curiam). In Espinosa-Hernandez, the

   Eleventh Circuit analyzed a district court’s denial of a motion for discovery into alleged

   misconduct by the Customs Service agent in charge of the investigation that led to conviction, and

   the subsequent denial of a motion for new trial. Id. at 912. In the course of reversing the district

   court as to both motions and remanding for discovery and an evidentiary hearing, the Espinosa-


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   Hernandez court explained that if discovery showed that a key witness committed perjury in a

   similar proceeding, then “the discovered evidence would be beyond that of mere impeachment and

   a new trial would be necessary to ‘remove the taint’ from Espinosa’s conviction.” Id. at 914 (citing

   Brunoehler, 714 F.2d at 101).

          On this point, Agresti specifies pieces of testimony that jurors could have seen differently

   had Bailynson’s perjury been revealed or purged from the trial. Notably, one witness, Sangillo,

   testified that Bailynson effectively “kept the GDSL staff away from Dr. Agresti” so that they were

   not “able to reach out to [the] physician,” [ECF No. 379] at 830, and that “Dr. Agresti told Maxine

   Breglia he was not comfortable with the frequency with which Ken Bailynson was testing,” id. at

   832. This is the same witness that said she resigned because of ethical concerns after meeting with

   Bailynson, and who also testified that she had seen Agresti only once and had not spoken to him.

   [ECF No. 379] at 178–79. Agresti also points to the testimony and impeachment of Calame Ortiz

   as evidence that a jury might see things differently if it knew about Bailynson’s perjury. While

   Calame Ortiz testified that she had not received any money from Bailynson, a law enforcement

   officer testified that Calame Ortiz had previously explained that she would stand on a street corner

   to recruit prospective addicts and that Bailynson would pay her $300-500 per “referral.” [ECF

   No. 403] at 36–38. Without Bailynson’s perjured story about Agresti’s cash payments, the jury

   might have viewed inconsistencies in Calame Ortiz’s testimony or Sangillo’s explanations of how

   Bailynson segregated staff from Agresti differently—instead of perceiving such testimony as

   corroboration of Agresti’s criminal intent.

                                            CONCLUSION

          In sum, Bailynson, “by his testimony, has poisoned the water in this reservoir, and the

   reservoir cannot be cleansed without first draining it of all impurity.” Mesarosh, 352 U.S. at 14.

   Accordingly, a new trial is warranted—one untainted by Bailynson’s perjury. For the foregoing


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   reasons, it is hereby ORDERED AND ADJUDGED that Defendant’s Motion for New Trial,

   [ECF No. 585], is GRANTED.

         DONE AND ORDERED in Miami, Florida this 30th day of January, 2025.



                                                      _________________________________
                                                      RODOLFO A. RUIZ II
                                                      UNITED STATES DISTRICT JUDGE




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